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 October 9, 2023
 Christopher M. Wolpert
 Clerk of the Court
 U.S. Court of Appeals for the Tenth Circuit
 1823 Stout Street
 Denver, Colorado 80257

         Re:     Rule 28(j) Notice of Supplemental Authority: Carpenter v. Vilsack, No. 22-
                 8079, and Rogers v. Vilsack, No. 23-1122

 Dear Mr. Wolpert:

         On September 29, 2023, the Supreme Court granted certiorari in FBI v. Fikre, Dkt. No. 22-
 1178. 1 In Fikre, the Court will evaluate whether the Ninth Circuit erred by holding that a “No Fly
 List” lawsuit against the government was not moot, despite the plaintiff’s removal from the list.

         In its Reply Brief urging a grant of certiorari, the FBI distinguished Fikre from cases
 involving race discrimination, such as Cnty. of Los Angeles v. Davis, 440 U.S. 625 (1979). 2 It
 stated: “A candidate who was not hired as a result of the discriminatory practices in Davis would
 have had an ongoing legally cognizable injury—the lack of a job—that could be redressed in part
 by an injunction requiring the county to reconsider his application anew.” Id. at 5-6.

         By distinguishing Fikre like this, the government embraced Appellants’ theory of this case:
 that past discrimination is an injury that may be redressed, despite the government ceasing the
 challenged discriminatory conduct. See also Sullivan v. Bedingfield, 920 F.3d 401, 411 (6th Cir.
 2019) (prisoner suit was not moot despite plaintiffs’ release from prison, and despite the repeal of
 a statute, because “the statute fails to stop the differential treatment Plaintiffs continue to suffer”);
 accord Zukerman v. U.S. Postal Service, 64 F.4th 1354, 1363 (D.C. Cir. 2023) (“[T]he customized
 postage program has already been shuttered. … [Yet] Zukerman was injured the moment the Postal



 1
   https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/22-
 1178.html
 2
   https://www.supremecourt.gov/DocketPDF/22/22-1178/278798/20230905142203690_22-
 1178%20Fikre%20cert%20reply.pdf
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 Service refused to print and recognize his stamp. The effects of that past injury remain unremedied
 …”).
         At a minimum, the Court may wish to consider the Supreme Court’s decision in Fikre prior
 to issuing its opinion here.
        Separately, this Court recently held that the failure to advance a plain-error argument—
 regarding an argument not raised below—entails a complete waiver of that argument. See Deer
 Creek Water Corp. v. Cty. of Okla. Cty., — F.4th —, 2023 WL 6056418, *4 (10th Cir., Sept. 18,
 2023). Deer Creek establishes that the government affirmatively waived its argument that
 Appellants did not seek injunctive relief as to past injuries. (Opening Br. at 33; Reply Br. at 20-
 25).


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